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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Weifang Tengyi Jewelry Trading Co. Ltd
                                               Plaintiff,
v.                                                           Case No.: 1:18−cv−04651
                                                             Honorable Gary Feinerman
ExtraFind, et al.
                                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 6, 2018:


        MINUTE entry before the Honorable Gary Feinerman:Status hearing held and
continued to 10/4/2018 at 9:15 a.m. Argument held on the pending motions. Pursuant to
the 8/20/2018 notice of voluntary dismissal [45], Defendant Redtheater is dismissed and is
currently under no court−ordered restraints. Plaintiff's counsel shall send a copy of this
noticed to Ebay and Paypal immediately, and shall indicate in a cover letter that
Defendant Redtheater has been dismissed from this suit. Plaintiff&#0;39;s counsel shall
attend to outstanding correspondence from Def Nos. 163 and 362. The Clerk shall unseal
Dkt. 10. Attorneys or any party who wish to participate by telephone at the 10/4/2018
hearing should call Toll−Free Number: (877) 336−1828, Access Code: 4082461 for the
status hearing.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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refer to it for additional information.

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